Dear Secretary Carnahan:
This opinion letter responds to your request dated March 4, 2011, for our review under § 116.334, RSMo, of a revised proposed summary statement prepared for the petition submitted by James B. Deutsch regarding a proposed constitutional amendment to amend Article VI of the Missouri Constitution (version 5). The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to:
  • Require that all municipal police forces or departments be controlled by the municipal governing body where the police force or department is located; and
  • Require the governing body of any city whose municipal police force or department was under state control, currently St. Louis and Kansas City, to maintain the terms of any existing pension plan for current or retired officers or employees of such police force or department who were hired prior to November 6, 2012?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we *Page 2 
take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  __________________________ CHRIS KOSTER Attorney General *Page 1 